Case 2:05-cv-02332-SHI\/|-dkv Document 3 Filed 07/29/05 Page 1 of 2 Page|D 1

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IN THE UNITEI) sTATEs I)ISTRICT coURT fé&` s n.o_
wEsTERN DISTRICT oF TENNESSEE 05 JUL 29
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W@@F?F\a` ,_ ‘
SHANE CHAPMAN, )
)
PLAINTIFF, )
)
v. ) CIVIL ACTION NO. 05-2332-Ma V
)
NIICHAEL (MELVIN) WlLSON a/kla, ) JURY DEMANDED
M]KE W[LSON and )
CURTIS RAY YOUNG a/k/a )
CURT YOUNG a/k/a )
CURTIS YOUNG, )
)
DEFENDAN'I`S. )
ORDER

Upon good cause showing Plaintiff is granted an additional 90 days in which to serve

process as provided by Rule One of the Federal Rules of Civil Procedure.

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Edward W. Chandler

LAW OFFICE OF EDWARD CHANDLER
617 Don Quixote

Mountain Home7 AR 72653

Honorable Samuel Mays
US DISTRICT COURT

